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              IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                         DELTA DIVISION

TRAVIS MANNING
ADC #144583                                                     PLAINTIFF

v.                             No. 2:20-cv-127-DPM

ROOSEVELT G. BARDEN,
Captain, EARU Max; SINDY LARRY,
Sergeant, EARU; JERMEY ANDREWS,
Warden, EARU; MARSHALL D. REED,
Retired Director of Grievance Appeals, ADC;
UTLEY, Nurse, EARU; DOES, Any John or
Jane to be Named; DEXTER PAYNE, Director,
ADC; and WENDY KELLEY, Commissioner,
ADC                                                         DEFENDANTS

                                     ORDER
      On de nova review, the Court adopts Magistrate Judge Harris's
partial recommendation, Doc. 7, and overrules Manning's objections,
Doc. 9.   FED. R. Crv. P.   72(b) (1983 addition to advisory committee notes).
Manning's claims against Barden and Larry may proceed, except his
due process claim against Barden, which is dismissed without
prejudice. Manning's claims against Andrews, Reed, Payne, and Kelley
in their individual capacities may proceed, but his claims against them
in their official capacities are dismissed without prejudice. Manning's
embedded motion for extension of time and partial amendment of
complaint, Doc. 9, is denied without prejudice. If Manning wants to
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amend his due process claim after doing more research, he can make a
motion to do so at a later date.
     So Ordered.


                                   D.P. Marshall(r.
                                   United States District Judge




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